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                  IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA
____________________________________
SUSAN B. WILLSON                     )
                                     )
                  Plaintiff,        )  Civil Action No.
      vs.                            )
                                     )
ACADEMY COLLECTION SERVICE, )
INC.,                               )
                                     )
                  Defendant.         )
____________________________________)

                                  COMPLAINT
                      UNLAWFUL DEBT COLLECTION PRACTICES

                                     I. INTRODUCTION

       1.      This is an action for damages brought by an individual consumer for Defendant’s

violations of the Fair Debt Collection Practices Act, 15 U.S.C. § 1692, et seq. (hereafter the

“FDCPA”). The FDCPA prohibits debt collectors from engaging in abusive, deceptive, and

unfair collection practices.

                               II. JURISDICTION AND VENUE

       1.      Jurisdiction of this Court arises under 15 U.S.C. § 1692k(d), 28 U.S.C. § 1331,

1337, and supplemental jurisdiction exists for the state law claims pursuant to 28 U.S.C. § 1367.

       2.      Venue lies in this district pursuant to 28 U.S.C. § 1391(b).

                                         III. PARTIES

       3.      Plaintiff Susan B. Willson is an adult individual residing at 2855 Franklin Walk,

Falls Church, VA 22042.

       4.      Defendant Academy Collection Service, Inc. is a business entity engaged in the

business of collecting debts in this Commonwealth with its principal place of business located at

10965 Decatur Road, Philadelphia, PA 19154.          The principal purpose of Defendant is the
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collection of debts using the mails and telephone, and Defendant regularly attempts to collect

debts alleged to be due another.

                                   IV. FACTUAL ALLEGATIONS

       5.      At all times pertinent hereto, Defendant was hired by Citibank to collect a debt

relating to consumer credit card purchases that were allegedly originally owed to Citibank

(hereafter the “debt”).

       6.      The debt at issue arises out of an alleged transaction which was primarily for

personal, family or household purposes.

       7.      In May 2007, Defendant contacted Plaintiff at her place of employment in an

attempt to coerce Plaintiff’s payment of the debt.

       8.      Notwithstanding the above, following the above, in May 2007, Defendant

contacted Plaintiff’s sister-in-law, Barbara Beach, at her place of residence in an attempt to

coerce Plaintiff’s payment of the debt with the intent to annoy, abuse, and harass such persons

contacted. During the conversation, Defendant indicated it was calling for Plaintiff and the

matter was “very serious.”

       9.      Notwithstanding the above, on or about June 3, 2007, Defendant contacted Mrs.

Beach again at her place of residence in an attempt to coerce Plaintiff’s payment of the debt with

the intent to annoy, abuse, and harass such persons contacted.

       10.     Notwithstanding the above, on or about June 5, 2007, Defendant contacted

Plaintiff at her place of employment in an attempt to coerce payment of the debt, with the intent

to annoy, abuse, and harass such persons contacted.

       11.     In response to the above, on or about June 5, 2007, Plaintiff returned Defendant’s

phone call. During the conversation, Plaintiff told Defendant that it was not to call her at her
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place of employment, as such calls were inconvenient to her and that her employer did not

permit such calls at her place of employment. Additionally, Plaintiff attempted to discuss a

payment plan, to which Defendant responded with terms Plaintiff could not afford. Defendant

then demanded that Plaintiff take a loan from her credit union. When Plaintiff indicated such an

action would take at least two days, Defendant responded by stating it would “place a hold on

her bank account” while she applied for the loan.

        12.     Notwithstanding the above, on or about June 6, 2007, Defendant contacted

Plaintiff at her place of employment in an attempt to coerce payment of the debt, with the intent

to annoy, abuse, and harass such persons contacted.

        13.     In response to the above, Plaintiff contacted Defendant and spoke to a

representative, employee and/or agent from Defendant identifying herself as “Ms. Scott.” During

the conversation, Plaintiff again attempted to discuss a payment plan, which Ms. Scott outright

refused. Plaintiff was then transferred to a representative, employee and/or agent from Defendant

identifying himself as a “supervisor” and as “Todd Green.” During the conversation with Mr.

Green, Plaintiff was greeted with a barrage of questions. When Plaintiff indicated she could not

remain on the phone, Mr. Green became rude and indicated he was making a note on Plaintiff’s

file indicating she “refused to settle.”

        14.     Notwithstanding the above, on or about June 7, 2007, Defendant contacted

Plaintiff at her place of employment in an attempt to coerce payment of the debt, with the intent

to annoy, abuse, and harass such persons contacted.

        15.     In response to the above, on or about June 7, 2007, Plaintiff wrote and sent via

U.S. Mail to Defendant a letter (hereafter “Letter”) which, inter alia, in addition to detailing her

attempts to discuss a payment plan with Defendant, directed Defendant to cease and desist
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contact with Plaintiff at her place of employment. (A true and correct copy of the Letter is

attached hereto as Exhibit “A” and is incorporated herein).

       16.     Notwithstanding the above, on or about June 8, 2007, Defendant contacted

Plaintiff at her place of employment in an attempt to coerce payment of the debt, with the intent

to annoy, abuse, and harass such persons contacted.

       17.     Notwithstanding the above, on or about June 11, 2007, Defendant contacted

Plaintiff at her place of employment in an attempt to coerce payment of the debt, with the intent

to annoy, abuse, and harass such persons contacted.

       18.     Notwithstanding the above, on or about June 12, 2007, Defendant contacted

Plaintiff at her place of employment in an attempt to coerce payment of the debt, with the intent

to annoy, abuse, and harass such persons contacted, including but not limited to once more that

day.

       19.     Notwithstanding the above, on or about June 13, 2007, Defendant contacted

Plaintiff at her place of employment in an attempt to coerce payment of the debt, with the intent

to annoy, abuse, and harass such persons contacted.

       20.     Notwithstanding the above, on or about June 14, 2007, Defendant contacted

Plaintiff at her place of employment in an attempt to coerce payment of the debt, with the intent

to annoy, abuse, and harass such persons contacted.

       21.     Notwithstanding the above, on or about June 15, 2007, Defendant contacted

Plaintiff at her place of employment in an attempt to coerce payment of the debt, with the intent

to annoy, abuse, and harass such persons contacted.




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       22.     The Defendant acted in a false, deceptive, misleading and unfair manner when it,

without permission from the Plaintiff, communicated with persons other than the Plaintiff on

more than one occasion.

       24.     The Defendant acted in a false, deceptive, misleading and unfair manner by

threatening to take action that it did not intend to take for the purpose of coercing Plaintiff to pay

the debt.

       25.     The Defendant acted in a false, deceptive, misleading and unfair manner by

continuing to communicate with the Plaintiff at her place of employment when the Defendant

knew or had reason to know that that such calls were inconvenient to her and that her employer

did not permit such calls at her place of employment.

       26.     The Defendant acted in a false, deceptive, misleading and unfair manner by

continuing to communicate directly with Plaintiff at her place of employment with regards to the

debt after Plaintiff had notified Defendant in writing to cease further communications.

       27.     The Defendant knew or should have known that their actions violated the

FDCPA. Additionally, Defendant could have taken the steps necessary to bring their and their

agent’s actions within compliance of the FDCPA, but neglected to do so and failed to adequately

review those actions to insure compliance with said law.

       28.     At all times pertinent hereto, Defendant was acting by and through its agents,

servants and/or employees, who were acting within the scope and course of their employment,

and under the direct supervision and control of the Defendant herein.

       29.     At all times pertinent hereto, the conduct of Defendant as well as its agents,

servants and/or employees, was malicious, intentional, willful, reckless, negligent and in wanton

disregard for federal and state law and the rights of the Plaintiff herein.
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       30.     As a result of Defendant’s conduct, Plaintiff has sustained actual damages,

including, but not limited to, injury to Plaintiff’s reputation, invasion of privacy, damage to

Plaintiff’s credit, out-of-pocket expenses, physical, emotional and mental pain and anguish and

pecuniary loss and they will continue to suffer same for an indefinite time in the future, all to

their great detriment and loss.

                    V. FIRST CLAIM FOR RELIEF- VIOLATION OF THE FDCPA

       31.     Plaintiff incorporates the foregoing paragraphs as though the same were set forth

at length herein.

       32.     Defendant is a “debt collector” as defined by 15 U.S.C. § 1692a(6) of the

FDCPA.

       33.     Plaintiff is a “consumer” as defined by 15 U.S.C. § 1692a(3) of the FDCPA.

       34.     The above contacts between Defendant and Plaintiff were “communications”

relating to a “debt” as defined by 15 U.S.C. § 1692a(2) and 1692a(5) of the FDCPA.

       35.     Defendant violated the FDCPA.        Defendant’s violations include, but are not

limited to, violations of 15 U.S.C. §§ 1692b(3), 1692c(a)(1), 1692c(a)(3), 1692c(b), 1692c(c),

1692d, 1692d(5), 1692e, 1692e(5), 1692e(10), and 1692f, as evidenced by the following

conduct:

                    (a)    Communicating with persons other than the Plaintiff on more than one

                           occasion;

                    (b)    Communicating with the Plaintiff at an unusual time or place or a time

                           or place known or which should be known to be inconvenient to the

                           Plaintiff;


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                 (c)       Communicating with the Plaintiff at her place of employment when

                           the Defendant knew or had reason to know that the Plaintiff’s

                           employer prohibits the Plaintiff from receiving such communications;

                 (d)       Communicating, in connection with the collection of a debt with

                           persons other than the Plaintiff;

                 (e)       Contacting Plaintiff after she had notified Defendant in writing to

                           cease contacting her;

                 (f)       Engaging in conduct the natural consequence of which is to harass,

                           oppress or abuse any person in connection with the collection of a

                           debt;

                 (g)       Causing a telephone to ring or engaging any person in conversation

                           repeatedly or continuously with intent to annoy, abuse, or harass any

                           person at the called number;

                 (h)      Threatening to take action that cannot be legally be taken and/or is not

                           intended to be taken; and

                 (i)       Otherwise using false, deceptive, misleading and unfair or

                           unconscionable means to collect or attempt to collect the alleged debt

                           from the Plaintiff.

       36.     Defendant’s acts as described above were done with malicious, intentional,

willful, reckless, wanton and negligent disregard for Plaintiff’s rights under the law and with the

purpose of coercing Plaintiff to pay the alleged debt.

       37.     As a result of the above violations of the FDCPA, Defendant is liable to Plaintiff

in the sum of Plaintiff’s statutory damages, actual damages and attorney’s fees and costs.
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       WHEREFORE, Plaintiff respectfully prays that relief be granted as follows:

               (a)     That judgment be entered against Defendant for actual damages pursuant

                       to 15 U.S.C. § 1692k(a)(1);

               (b)     That judgment be entered against Defendant for statutory damages

                       pursuant to 15 U.S.C. § 1692k(a)(2)(A);

               (c)     That the Court award costs and reasonable attorney's fees pursuant to 15

                       U.S.C. §1692k(a)(3); and

               (d)     That the Court grant such other and further relief as may be just and

                       proper.

                VI.     SECOND CLAIM FOR RELIEF- INVASION OF PRIVACY

       38.     Plaintiff incorporates the foregoing paragraphs as though the same were set forth

at length herein.

       39.     Defendant continuously and repeatedly contacting Plaintiff at Plaintiff’s place of

employment constitutes an invasion of privacy.

       40.     As a result of Defendant’s above mentioned conduct, Plaintiff sustained and

continues to sustain the losses and damages as set forth above.

       WHEREFORE, Plaintiff claim compensatory, punitive and all other forms of cognizable

damages against Defendant and judgment in her favor.

                                 VI.    JURY TRIAL DEMAND

       41.     Plaintiff demands trial by jury on all issues so triable.

                                               RESPECTFULLY SUBMITTED,

                                               FRANCIS & MAILMAN, P.C.


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DATE: August 31, 2007




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